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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

REYNA WILLIAMS,                                 §
          Plaintiff,                            §
                                                §
v.                                              §        CIVIL ACTION NO. 5:19-cv-00061
                                                §
WELLS FARGO USA HOLDINGS, INC.,                 §
          Defendant.                            §

                            CORPORATE DISCLOSURE STATEMENT

        Under Rule 7.1 of the Federal Rules of Civil Procedure, Defendant Wells Fargo USA

Holdings, Inc., successor by merger to Wells Fargo Financial Texas, Inc., files this Disclosure

Statement and would show as follows:

        Wells Fargo USA Holdings in an indirect, wholly-owned subsidiary of Wells Fargo &

Company, a publicly traded bank holding company. No publicly held corporation owns 10% or

more of Wells Fargo & Company’s stock.

        Wells Fargo reserves the right to supplement this certificate as needed.




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                                      Respectfully submitted,

                                      LOCKE LORD LLP


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                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served as indicated on
this 24th day of January, 2019, to the following:

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